Case 17-62462-jrs     Doc 41    Filed 05/11/20 Entered 05/11/20 15:05:01         Desc Main
                                Document      Page 1 of 3




 IT IS ORDERED as set forth below:



 Date: May 11, 2020
                                                  _____________________________________
                                                              James R. Sacca
                                                        U.S. Bankruptcy Court Judge

 _______________________________________________________________




                       UNITED STATES BANKRUPTCY COURT
                       OF NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISON

  IN RE:                                      )      CHAPTER 13
                                              )
  KIMBERLY CAITLIN LEWIS                      )      CASE NO. 17-62462-JRS
                                              )
           Debtor.                            )

                     ORDER ON MOTION TO RETAIN TAX REFUND

           On March 12, 2020, Debtor filed a Motion to Retain Tax Refund (the “Motion”)

  (Doc. No. 40) and Notice of Hearing (“Notice”). In the Motion the Debtor requested to

  retain $3720.00 out of $4850.00 of her Federal income tax refund to pay for vehicle

  repairs and household expenses. Hearing on the Motion was set for April 14, 2019.

  Counsel for the Debtor and Counsel for the Chapter 13 Trustee appeared. No other

  parties appeared in opposition. For good cause shown, it is hereby
Case 17-62462-jrs     Doc 41    Filed 05/11/20 Entered 05/11/20 15:05:01       Desc Main
                                Document      Page 2 of 3


         ORDERED that the Motion is granted. The Debtor may retain $3720.00 of her

  2019 income tax refund. Debtor shall promptly send the remaining $1,130.00 to the

  Chapter 13 Trustee to be disbursed, less the statutory fee of the Chapter 13 Trustee,

  pursuant to the Chapter 13 Plan.

                                     END OF DOCUMENT


  Prepared by:
  ____/s/_____
  Howard Slomka, Esq.
  Georgia Bar No. 652875
  Slipakoff & Slomka, PC
  3350 Riverwood Pkwy
  Suite 2100
  Atlanta, GA 30339
  404-800-4001


  No Opposition:

  /s/ (signed with express permission)
  Maria C. Joyner
  GA Bar No.: 118350
  Staff Attorney for Nancy J. Whaley
  Standing Chapter 13 Trustee
  303 Peachtree Center Avenue
  Suite 120
  Atlanta, GA 30303
  (678) 992-1206
Case 17-62462-jrs    Doc 41     Filed 05/11/20 Entered 05/11/20 15:05:01   Desc Main
                                Document      Page 3 of 3


                                 DISTRIBUTION LIST

  Nancy J. Whaley, 13 Trustee
  Suite 120
  303 Peachtree Center Avenue
  Atlanta, GA 30303

  Kimberly Caitlin Lewis
  906 Grier Street Apt 217
  Woodstock, GA 30189

  Howard Slomka, Esq.
  Slipakoff & Slomka, PC
  3350 Riverwood Pkwy
  Suite 2100
  Atlanta, GA 30339
